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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

______________________________________

UNITED STATES OF AMERICA, et al.,

               Plaintiffs,                                    No. 1:79-cv-988-LJV

               -v-

HOOKER CHEMICAL CORP., et al.,

            Defendants.
______________________________________

                                       STATUS REPORT

       Plaintiff United States of America, on behalf of the United States Environmental

Protection Agency (“EPA”), hereby submits an updated status report in the above-captioned

case, as previously directed by the Court. This status report updates the prior status reports filed

by Plaintiff on July 1, 2019 (Doc. 349), September 27, 2019 (Doc. 353), January 28, 2020 (Doc.

355), May 29, 2020 (Doc. 357), December 14, 2020 (Doc. 359), June 14, 2021 (Doc. 361), and

December 17, 2021 (Doc. 363). This report appears to have been due by June 20, 2022, but the

docket entry received from the court after the previous status report was submitted stated that the

due date was to be June 20, 2021. Undersigned counsel failed to notice this error and incorrectly

docketed the due date on his calendar. Counsel apologizes for the delay in submitting this report.

       As previously reported to the Court, EPA and the New York Department of

Environmental Conservation (“DEC”) have been evaluating a proposal made by Occidental

Chemical Corp. (“OCC”) to use extraction of dense non-aqueous phase liquids (“DNAPL”) from

the contaminated groundwater plume associated with the Superfund site that is the subject of this

case as an alternative to placement of a grout curtain to contain DNAPL migration from the site,

which was a component of the original remedy to be implemented in this case. It had been
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decided and agreed by all parties that a pump test was necessary to provide answers to certain

remaining questions raised by EPA and DEC regarding OCC’s extraction proposal.

        Based on the pump test that was performed by OCC’s environmental contractor in April

2020, and the Migration Evaluation Report submitted to EPA and DEC in December 2020, it

was determined by EPA and DEC that additional field work would be needed to make a

determination that the DNAPL extraction remediation being conducted by OCC is adequately

and effectively controlling the migration of the site contamination under the Niagara River

without the need for construction of the grout curtain called for in the Stipulation Agreement

entered in this case.

        After a meeting on August 26, 2021, among representatives of EPA, DEC, and OCC to

further discuss their findings and to determine whether OCC would be willing to perform the

necessary additional work, OCC agreed to perform the additional work. This additional work

includes the installation of additional monitoring wells to fill data gaps, improve monitoring, and

supplement past calculations, and subsequent pumping tests to determine the effects of the

pumping across the more extensive monitoring network. EPA and DEC requested that OCC

submit a work plan for the additional work for approval by the agencies.

        OCC submitted its ‘Work Plan for Additional Shallow Bedrock NAPL Recovery System

Investigation, S Area Landfill Site’ (the “Work Plan”) in early 2022. On March 31, 2022, EPA

and DEC provided their written comments on the Work Plan to OCC, and on May 12, 2022,

OCC responded to the EPA and DEC comments. By letter dated June 10, 2022, EPA and DEC

tentatively approved the Work Plan, subject to some additional comments and requests that were

provided in the approval letter, and requested that OCC submit a final Work Plan incorporating

the additional input for final agency approval.
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       On July 11, 2022, OCC responded to the June 10 comments provided by EPA and DEC

and submitted a final Work Plan. The final Work Plan was approved by the agencies on August

3, 2022. EPA and DEC will require a weekly update of the DNAPL investigation effort while

the fieldwork is being conducted. The content of this update will be work accomplished that

week, problems encountered, and a description of work planned for the following week.

       The tasks to be accomplished under the approved Work Plan are the following:

      NAPL sampling for physical and chemical characterization was completed on August 30,
       2022.

      The analytical results as well as the historic and current overburden and shallow bedrock
       NAPL characterization is to be submitted as a technical memorandum by October 31,
       2022.

      Monitoring well installation is scheduled to commence in October/November 2022, to be
       completed in February 2023, with overdrilling of OW806 and installation of the
       monitoring wells closest to the bike path to be completed first.

      Conversion of OW806 to a recovery well (mechanical and electrical) is scheduled to be
       completed by the end of February 2023.

      Pumping tests will be conducted during the spring of 2023.

      A report presenting data, findings, and conclusions based on the work performed under
       the Work Plan is scheduled for submission to EPA and DEC by July 31, 2023.

It is anticipated that a decision regarding the need for construction of the grout curtain will be

possible based on the results of the additional work called for under the Work Plan following

submission of the final report in July 2023.

       As indicated in the status reports that have previously been submitted to the Court, this

project continues to progress smoothly and the parties’ interactions have been cooperative. The

project may well move forward without the need for judicial involvement in the process, but this



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cannot be ruled out entirely. The parties will await the Court’s determination concerning

continuation of this matter on the Court’s docket.

       Respectfully submitted this 28th day of September, 2022.

                                                     s/ Steven A. Keller
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                                CERTIFICATE OF SERVICE

       Undersigned counsel hereby certifies that on this 28th day of September, 2022, copies of

the foregoing were served by United States Postal Service on the following parties at the last-

known address of their counsel in this matter:

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                                                     s/ Steven A. Keller
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